     Case: 1:19-cv-02581 Document #: 35 Filed: 07/14/19 Page 1 of 1 PageID #:1147




Anti-Age Technologies, LLC                    )
                                              )
v.                                            )      Case No. 19-cv-2581
                                              )
THE PARTNERSHIPS and                          )      Judge: Hon. Manish S. Shah
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A,”                   )      Magistrate: Hon. Sunil R. Harjani
                                              )
                                              )


                                      Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Anti-Age Technologies,

voluntarily dismiss any and all claims against defendants without prejudice:

 Doe           Store Name       Store ID
 103           best_story       54994973223ebf6960a84a9a
 357           luobiaobiao      5a155f405349207c40a7f76a
 396           chenling5486     5ab77382b125ab56b24a2d5b



Dated: July 14, 2019
                                              Respectfully submitted,



                                              By:     s/David Gulbransen/
                                                     David Gulbransen
                                                     Attorney of Record

                                                     David Gulbransen (#6296646)
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